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                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

            Plaintiff,                         Case No. 1:18-cr-00401-BLW

      v.                                       ORDER CONTINUING
                                               SENTENCING
STEVEN TODD THOMPSON,

            Defendant.


      The Court has before it an unopposed motion to continue sentencing filed by

defendant. The Court, finding good cause therefore,

      NOW HEREBY ORDERS that the motion to continue sentencing (Dkt. 336)

is GRANTED. The current sentencing date of May 12, 2020 is VACATED. The

new sentencing date shall be June 19, 2020 at 9:00 a.m. at the United States

District Courthouse in Boise, Idaho.

                                             DATED: May 5, 2020


                                             _________________________
                                             B. Lynn Winmill
                                             United States District Judge




ORDER CONTINUING SENTENCING – 1
